
PER CURIAM.
Motion to dismiss appeal. Judgment was rendered herein February 2, 1901, and thereafter appellant gave notice of a motion to vacate the judgment, and to set aside default and appearance of the defendant Cochran, and to dismiss the action. Upon the hearing the court denied the motion. The appeal herein is from this order. The respondent has moved to dismiss the appeal upon the ground that the order is not appealable; that the appeal is from an order refusing to vacate a judgment which is itself appeal-able. Whether the grounds relied upon for the appeal from the order would have been available upon an appeal from the *822judgment involves an examination of the record, and for that reason cannot be considered upon a motion to dismiss the appeal. The order refusing to vacate a judgment is in its very nature a special order made after judgment, from which section 939 (3) of the Code of Civil Procedure authorizes a direct appeal.
The motion is denied.
